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                                                                          January 17, 2025

         VIA ECF

         Hon. Cheryl L. Pollak
         United States Magistrate Judge
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East, Room 1230
         Brooklyn, NY 11201

                   Re:        American Transit Insurance Company v. Pierre, 1:24-cv-00360-RPK-CLP –
                              ATIC’s Response to Defendant Bradley Pierre’s Untimely Submission in
                              Support of His Blanket Fifth Amendment Objection to Subpoena

         Dear Magistrate Judge Pollak:

                 We are counsel to Plaintiff American Transit Insurance Company (“ATIC”) in the above-
         referenced action. We submit this letter brief, pursuant to Your Honor’s minute order, dated
         December 11, 2024 (the “Legal Authority Order”), which required (1) defaulted Defendant
         Bradley Pierre by January 10, 2025, to provide the Court with legal authority supporting his
         blanket objection based on the Fifth Amendment right against self-incrimination to the subpoena
         duces tecum ATIC served on him dated August 5, 2024 (the “Subpoena”), and (2) ATIC to submit
         its response by today. In addition to defaulting in appearance, in responding to the Subpoena, and
         in responding to the Court’s order compelling him to comply with the Subpoena (“Compel Order”
         ECF No. 97), Pierre also defaulted by failing to meet the deadline set forth in the Legal Authority
         Order. Instead, Pierre filed his letter late last night—six days late. (ECF No. 143.) 1 Pierre’s
         untimely filing is not surprising given his track record of defaults and the fact the law does not
         support his stated position. It is overwhelmingly to the contrary.

                  Pierre’s letter is not responsive to the requirement in the Legal Authority Order that he
         “provide legal authority in support of Pierre's blanket objections based on the Fifth Amendment.”
         The Order followed from Pierre’s response to each of the Subpoena’s 80 individual document
         requests, without producing a single document: “CLIENT Invokes the Fifth Amendment right to
         refuse to answer questions.” (See Exhibit A, Pierre Responses and Objections to Subpoena.)
         Pierre does not address or provide any authority that would remotely justify this blanket objection,

         1
          Rather than answer the Court’s directive in the Legal Authority Order, Pierre’s counsel continues the false narrative
         about the Subpoena not having been served on him. As ATIC has previously detailed in filings with the Court (e.g.,
         ECF 91), the only reason the Subpoena was not served on Pierre’s counsel, is their refusal to accept service, forcing
         ATIC to hire a process server in Pennsylvania to serve Pierre personally at the federal penitentiary where he is confined
         for the next ten years. (ECF 91-1.) Moreover, not only did Pierre’s counsel receive a copy of the Subpoena on July
         31, 2024, when they refused to accept service (id.), they also received a copy on October 28, 2024.
         (ECF 111-1.)


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         nor did he respond to the cases ATIC previously cited on the issue. (ECF 105 at 2.) Rather, Pierre
         refers to cases generally discussing the Fifth Amendment right against self-incrimination. Whether
         Pierre might be able to invoke the Fifth Amendment in other circumstances is not at issue here,
         only whether his blanket objection to the Subpoena has any basis. It does not.

                 As noted in ATIC’s Discovery Status Report (ECF 105 at 2), Pierre’s Fifth Amendment
         objections are baseless because Pierre has waived them, and they are otherwise unsupported in the
         law. 2 As the Court ruled in its November 14, 2024, Order, Pierre was required to produce
         documents by December 2, 2024, and “all objections to the subpoena’s requests are deemed
         waived” by him. (See ECF 97 at 3.) That waiver includes the waiver of any Fifth Amendment
         right that Pierre may have had. See Guggenheim Cap., LLC v. Birnbaum, 722 F.3d 444, 453 (2d
         Cir. 2013) (affirming district court’s entry of default against defendant who had willfully
         disobeyed discovery orders and had invoked Fifth Amendment privilege to each discovery
         request); Parlin Funds LLC v. Gilliams, 2012 WL 5265554, at *3 (S.D.N.Y. June 15, 2012), report
         and recommendation adopted, 2012 WL 5258984 (S.D.N.Y. Oct. 23, 2012) (entering default
         against defendants who responded to document requests with “Answering Defendants plead the
         Fifth Amendment” after court had deemed all objections waived).

                As also summarized in the Discovery Status Report, even assuming Pierre’s Fifth
         Amendment objection was somehow not waived, it is still ineffective for multiple reasons. First,
         the burden is on the party asserting the privilege to show that its invocation is proper, but Pierre
         has made no attempt to meet that burden. See Huber v. Arck Credit Co., LLC, No. 12-CV-8175
         (JMF), 2016 WL 482955, at *6 (S.D.N.Y. Feb. 5, 2016).

                 Second, the Fifth Amendment does not protect business and personal documents that were
         voluntarily prepared because their creation was never compelled. See S.E.C. v. Ryan, 747 F. Supp.
         2d 355, 363 (N.D.N.Y. 2010); see also Buckingham v. Lewis Gen. Tires, Inc., No. 13-CV-6264W,
         2015 WL 902306, at *2 (W.D.N.Y. Mar. 3, 2015) (“It is not clear whether plaintiff has withheld
         any documents on this theory, and it is doubtful that the Fifth Amendment privilege would allow
         him to do so.”). Most of the requests in the Subpoena seek business documents that were
         voluntarily prepared, and thus, are squarely not protected by the Fifth Amendment. (See, e.g., ECF
         131-9 and ECF 131-10, Request Nos. 1, 3, 4, 5, 8, 9, 23, 24, 25, 28, 31, 32, 33, 34, 37, 38.) See
         also S.E.C. v. Ryan, 747 F. Supp. 2d at 364.

                 Third, any Fifth Amendment protection would not apply to a substantial number of the
         requests in the Subpoena because “[w]hen a person is required by law to create and maintain
         certain records and is asked to produce those records, the Fifth Amendment protection against self-
         incrimination is unavailing.” S.E.C. v. Ryan, 747 F. Supp. 2d at 364. The “required record
         exception” applies to “real estate closing documents, loan and mortgage documents, promissory
         notes, escrow accounts, tax returns, and other related documents shared publicly and/or with third

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           The history of Pierre’s default in responding to the Subpoena leading to the Court-ordered waiver is summarized in
         the Discovery Status Report (EFC 105) and was discussed during the discovery conference with the Court held on
         October 28, 2024. (10/28/24 Hearing Tr. at ECF No. 93.)


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         parties, such as banks, lenders, or investors.” Id. For example, many of the Subpoena’s requests
         seek bank records and related documents shared with banks and other third parties. (See ECF 131-
         9 and ECF 131-10, Request Nos. 8, 9, 25, 62.) The Subpoena also seeks loan documents and lease
         and rental documents. (See id. at Request Nos. 1, 60, 66, 67.) The Subpoena seeks tax returns and
         related tax documents shared with the IRS and New York State departments. (See id. at Request
         Nos. 28, 31.) It also seeks documents shared with third parties such as American Transit or New
         York State departments. (See id. at Request Nos. 32, 33, 34, 39.) Similarly, to the extent Pierre
         produced documents to the government as part of his criminal proceedings without invoking the
         Fifth Amendment, any objection to producing those records in this case is improper. (See id. at
         Request No. 27.)

                                                              ******

                 Pierre is in default of the Subpoena, has violated the Court’s Compel Order and has ignored
         the directive in the Authority Order. Thus, he is in contempt of the Subpoena and the Compel
         Order. See Comverse, Inc. v. Am. Telecommunications, Inc. Chile S.A., 2009 WL 464446, at *6
         (S.D.N.Y. Feb. 24, 2009) (holding that failure to respond to subpoenas, comply with court order
         demanding production of that information, failure to seek modification of the court order, and
         failure to provide a reasonable explanation for noncompliance was “willful contempt warranting
         an award of attorneys’ fees”). ATIC therefore requests that the Court issue an order holding Pierre
         in contempt and requiring him, in order to purge the contempt, to produce to ATIC all documents
         responsive to the Subpoena (without limitation) and to pay ATIC its legal fees and expenses
         incurred to obtain orders compelling Pierre to so comply with the Subpoena. Id.; Leser v. U.S.
         Bank Nat’l Ass’n, 2011 U.S. Dist. LEXIS 28127, at *48 (E.D.N.Y. Mar. 18, 2011) (imposing
         coercive monetary sanctions on witness, unless contempt was fully purged by producing
         documents by court-ordered deadline).

                  We are available to discuss the foregoing at the Court’s convenience.

                                                                         Respectfully submitted,



                                                                         James W. Perkins


         cc:      All Counsel of Record (via ECF)




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